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           In the United States Court of Federal Claims
                                         No. 19-1805C
                                    Filed: October 16, 2020


 SAVANTAGE FINANCIAL SERVICES,
 INC.,

                    Plaintiff,

 v.

 UNITED STATES,

                   Defendant.


                                            ORDER

        Pursuant to the Memorandum Opinion filed under seal concurrently with this Order, the
plaintiff’s motion for judgment on the administrative record (ECF 43) is DENIED, the
defendant’s motion for partial dismissal (ECF 44) is DENIED, and the defendant’s cross-motion
for judgment on the administrative record (ECF 44) is GRANTED.

       The Clerk is DIRECTED to enter judgment for the defendant. No costs are awarded.

       The parties shall jointly file with the Court no later than October 28, 2020, proposed
redactions to the Memorandum Opinion so that the Court may issue it publicly.

       It is so ORDERED.

                                                                   s/ Richard A. Hertling
                                                                   Richard A. Hertling
                                                                   Judge
